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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

  ABBY OWENS, ET AL.                                CIVIL ACTION NO.: 3:21-cv-00242

                         Plaintiffs,                SECTION

  VERSUS                                            JUDGE VITTER

  LOUISIANA STATE UNIVERSITY, et al.                MAGISTRATE JUDGE JOHNSON

                         Defendants.                ORAL ARGUMENT REQUESTED


                DEFENDANT TIGER ATHLETIC FOUNDATION’S
        RULE 12(b)(6) MOTION TO DISMISS NON-RACKETEERING CLAIMS

       Tiger Athletic Foundation (TAF) seeks to dismiss all of plaintiffs’ claims against it. This

motion addresses plaintiffs’ civil rights and state-law claims, while their racketeering claim is the

subject of a separate, contemporaneously filed motion.       The civil rights and state-law claims

should be dismissed for several reasons.

       First, because civil rights and state-law tort claims are subject to one year liberative

prescription, all but plaintiff Corinn Hovis’s individual claims are facially prescribed, and

plaintiffs cannot depend on equitable tolling because they were all on notice of their claims

during their time as LSU students. Second, plaintiffs cannot plead a valid civil rights claim

against TAF because it is a private corporation who did not engage in any “state action,” and

plaintiffs fail to sufficiently plead the elements of their civil rights claims against TAF. Third,

plaintiffs cannot maintain state-law tort claims against TAF because plaintiffs premise their

causes of action on Title IX duties TAF legally does not have and did not breach; plaintiffs

erroneously cite Louisiana Civil Code article 2030 governing “absolute nullity of contracts,”

which unquestionably does not apply here; TAF has no supervisory duties over LSU staff and

their adherence to Title IX; plaintiffs fail to sufficiently allege emotional distress claims under
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Louisiana law; state-law civil conspiracy is not a freestanding cause of action; and well-

established law holds that plaintiffs’ assertion of nineteen other causes of action preclude them

from pursuing an unjust enrichment claim, even in the alternative.

          Because this case is fundamentally about LSU’s alleged failure to abide by Title IX—for

which TAF bears no legal duties or responsibilities—each of these extraneous claims against

TAF should be dismissed.

                                                     Respectfully submitted,

                                                       /s/ Chloé M. Chetta
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